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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 1:20-cv-23564-MGC

    DAVID WILLIAMS and CAROLL
    ANGLADE, THOMAS MATTHEWS,
    MARTIZA ANGELES, and HOWARD
    CLARK, individually and on behalf of all
    others similarly situated,

          Plaintiffs,

    v.

    RECKITT BENCKISER LLC and
    RB HEALTH (US) LLC,

          Defendants.




           DEFENDANTS’ SUPPLEMENTAL MEMORANDUM REGARDING
                 FIRST AMENDED SETTLEMENT AGREEMENT
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          The injunctive relief Defendants Reckitt Benckiser LLC and RB Health (US) LLC

   (“Defendants” or “RB”) agreed to via the First Amended Settlement Agreement (“Amended

   Settlement”) strengthens the already significant concession in the original Settlement

   Agreement, which required the use of “Clinically Tested” or similar language, such as clinical

   studies have “shown.” This additional relief—that RB would refrain from any reference to

   “shown”—further addresses Plaintiffs’ claims of purported deception. And this relief was

   accepted in a case where RB had vigorous defenses—as demonstrated by recent case law

   dismissing a similar challenge raised by the same Plaintiffs’ counsel to a “clinically proven”

   claim. Under established Eleventh Circuit law, repeatedly applied by courts within this

   District, this record establishes that the injunctive relief, both the original injunctive relief and

   the additional injunctive relief now added, has value and that Final Approval is warranted.

          But the evidence here goes even further. RB has submitted additional expert testimony

   which establishes that, by giving up its pre-settlement right to use the terms “Clinically

   Proven” (and now even “Clinically Shown”) and to instead limit itself to the term “Clinically

   Tested,” Neuriva’s labels will communicate a message that neither Plaintiffs nor the Objectors

   can dispute: The active ingredients in Neuriva have, in fact, been clinically tested for their

   advertised benefits. See Declaration of Prof. Punam Keller (Dkt. No. 98-4) (“Keller Decl.”)

   ¶¶ 26–29, 38–45; see also Supplemental Declaration of Prof. Punam Keller (“Suppl. Keller

   Decl.”) ¶¶ 12–13 (attached hereto as Exhibit A). As the Declaration and Supplemental

   Declaration of Dr. Punam Keller confirm, by agreeing to a label that will consistently require

   use of the phrase “Clinically Tested,” consumers are likely to correctly conclude that

   Neuriva’s ingredients have been tested, without necessarily drawing additional inferences

   about the level of proof or certainty those tests revealed. Suppl. Keller Decl. ¶ 13; Keller Decl.

   ¶¶ 38–45.

          RB’s position—which also has been separately validated by unrebutted scientific expert

   testimony (Dkt. Nos. 62-1 & 86-1)—firmly remains that these tests do both “prove” and

   “show” Neuriva’s efficacy. So, the fact that RB will not be permitted to communicate that

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   truthful message is a meaningful restriction and rebuts assertions by Objector Frank and

   Amicus TINA that the Amended Settlement’s injunctive relief lacks value.

   I.     RB Would Not Have Agreed to the Label Changes But For the Settlement, Which
          Proves the Injunctive Relief’s Value.
           A settlement’s fairness should be evaluated in its entirety, including both monetary

   and non-monetary benefits, and weighed against the risks of proceeding. See Wilson v.

   EverBank, 2016 WL 457011, at *11 (S.D. Fla. Feb. 3, 2016) (“[C]ourts rightly consider the

   value of injunctive and monetary relief together in assessing whether a class action settlement

   provides sufficient relief to the class.”) (evaluating value of injunctive relief under the “range

   of possible recovery” factor, one of six factors Eleventh Circuit considers in evaluating a

   settlement); see also Mot. for Final Approval (Dkt. No. 69) at 9 (setting forth six factors).

          As the Eleventh Circuit held in Poertner v. Gillette Co., injunctive relief that requires a

   defendant to forego challenged labeling statements because of the underlying litigation

   provides “substantial evidence” that the relief provides benefit to the settling class. 618 F.

   App’x 624, 629 (11th Cir. 2015) (“[W]e conclude that the district court’s valuation of the

   nonmonetary relief was supported by the record.”) (applying substantial evidence standard).

   Poertner affirmed the final approval of a class settlement likewise objected to by Objector

   Frank, who had asserted that the labeling restrictions agreed to by the defendant were

   “illusory” because the defendant was no longer selling the underlying product at the time of

   the settlement. Id. Even in that context, the Eleventh Circuit still concluded the injunctive

   relief should be considered of value to the class, focusing on that the litigation prompted the

   defendant to make the labeling change: “The record . . . makes clear that [defendant’s]

   decision to stop selling and marketing [the challenged product] with the challenged statements

   on the packaging was motivated by the present litigation. Frank did not present any

   contradictory evidence to the district court.” Id.

          This principle from Poertner, that a settlement-induced label change provides value to

   the class for approval purposes, has been clearly and repeatedly applied within the Southern


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   District of Florida. See Marty v. Anheuser-Busch Cos., LLC, 2015 WL 6391185, at *2 (S.D. Fla.

   Oct. 22, 2015) (“Under Eleventh Circuit law, injunctive changes such as label modifications

   represent a benefit to the class and should be considered when approving a class settlement.”)

   (citing Poertner and overruling objection claiming injunction offered no value); Ferron v. Kraft

   Heinz Foods Co., 2021 WL 2940240, at *15 (S.D. Fla. Jul. 13, 2021) (“Lastly, the Settlement

   provided a value to all Class Members in the form of the Programmatic Relief, requiring a

   label change that Defendant would not have agreed to absent the Agreement.”); Janicjevic v.

   Classica Cruise Operator, LTD., 2021 WL 2012366, at *1 (S.D. Fla. May 20, 2021) (“The Court

   finds [injunctive-relief based] policies certainly have an important value to the class that would

   not have been brought about by individual actions.”); id. *6 (“[C]ourts rightly consider the

   value of injunctive and monetary relief together in assessing whether a class action settlement

   provides sufficient relief to the class.”) (applying Poertner to settlement-induced policy

   changes) (italics in original); see also cf. Wilson, 2016 WL 457011, at *11 (“[T]he Settlement

   will put an end to the practices complained of by the Plaintiffs.”) (same).

          RB has established through unrebutted testimony that the changes agreed to in the

   Amended Settlement, specifically the limitation requiring the use of the term “Clinically

   Tested,” was the product of this litigation and Plaintiffs’ claims. See Sexton Decl. (Dkt. No.

   98-2) ¶ 30 (“RB would not willingly or voluntarily remove the claim ‘Clinically Proven’ and

   replace it with ‘Clinically Tested,’ absent the settlement requiring us to do so.”); see also Suppl.

   Sexton Decl. (Dkt No. 116-2) ¶ 3 (RB considered prior labeling truthful and change to limit

   labeling to “Clinically Tested” and not use “Clinically Proven” or “Clinically Shown” was

   prompted by class settlement). This alone proves up the injunctive relief’s value under

   Poertner. 618 F. App’x at 629; see also Ferron, 2021 WL 2940240, at *11 (“The Court also finds

   that Defendant would not have implemented the labeling changes required by the Settlement

   had Plaintiff not brought this lawsuit.”).

          Moreover, these labeling restrictions go specifically to the deception Plaintiffs had

   alleged. The Amended Complaint alleged repeatedly that the “proven” language on Neuriva’s

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   pre-settlement labeling misleadingly communicated the products’ efficacy with a body of

   “overwhelming evidence” representing a “consensus in the scientific community” that is

   “widely accepted in [the] applicable field.” Am. Compl. (Dkt No. 51) ¶ 65; see also id. ¶ 66

   (“Defendants’ statements on their labels and in their advertising convey to reasonable

   consumers, and reasonable consumers would believe, that the state of the science regarding

   Neuriva and its ingredients has reached a level of scientific consensus….”); id. ¶ 82 (“no scientific

   consensus exists that there is clinical and scientific proof….”); id. ¶ 85 (“there is no consensus in

   the scientific community” and pointing to “limited” research) (emphases added).

          RB does not agree that Plaintiffs’ allegations are correct regarding the quantitative or

   qualitative body of science that proves Neuriva’s efficacy. See Amended Settlement ¶ XV (RB

   denying liability). But it has nonetheless agreed to restrict its labeling to statements that

   Neuriva’s ingredients have been “Clinically Tested.” See id. ¶ IV.A.1 (injunctive relief). And

   by limiting itself to “Clinically Tested” instead of “proven,” RB has adopted labeling that

   does not suggest some definitive scientific outcome or consensus—which is what Plaintiffs’

   harped on as misleading on the pre-settlement labels—in favor of revised labeling that

   connotes only the truthful fact that Neuriva’s active ingredients have been subjected to

   rigorous examination. See RB Supp. Br. (Dkt. No. 98) at 4–5 (dictionary definitions and NAD

   authority indicating that a “proven” claim connotes “consensus or scientific agreement”); id.

   at 12 (“‘Proven’ and ‘Tested’ are generally expected to meet different levels of scientific

   investigation and different levels of statistical certainty.”) (citing Keller Decl.). Revising

   Neuriva’s labels to address the deception claimed in the lawsuit further confirms that the

   Amended Settlement’s injunctive relief has value. Wilson, 2016 WL 457011, at *11; see also

   Ferron, 2021 WL 2940240, at *4 (approved settlement with labeling-based injunctive relief

   that included removal of the challenged language from products’ labels).

          This relief has been further strengthened in the Amended Settlement. RB must now

   also forego use of the term “shown,” even when the original relief already addressed Plaintiffs’

   concerns. By foregoing the use of “shown,” RB is avoiding language allegedly suggesting

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   “proven.” See Suppl. Keller Decl. ¶ 11–12; compare Collins Dictionary (“1. show. tr. v. If

   something shows that a state of affairs exists, it gives information that proves it or makes it clear

   to people.”) (available at: https://www.collinsdictionary.com/us/dictionary/english/show)

   with Collins Dictionary (“test. n. a test is a deliberate action or experiment to find out how

   well                something                  works”)                  (available                at

   https://www.collinsdictionary.com/us/dictionary/english/test) (first emphasis added). RB

   has agreed to an even more restrictive label that, in addition to restriction to the use of

   “clinically tested,” further avoids any possibility that a consumer would interpret the term

   “shown” to mean “proven.” Objector Frank previously took this exact position in arguing

   that continued use of the term “shown” might lead consumers to believe it meant “proven.”

   See Objection of T. Frank (Dkt. No. 75) at 6 (“[T]he fact that the Defendant can, under the

   settlement, use ‘shown’ as a representation instead of ‘clinically tested’ confirms this reading

   [that the label conveys the message ‘clinically proven’].”). Thus, the Amended Settlement’s

   prohibition on the use of both “shown” and “proven” implements an even stricter set of

   requirements for labeling.
          These injunctive relief restrictions were all agreed against a backdrop of robust

   scientific substantiation—whose strength was attested to through unrebutted expert medical

   testimony—that Neuriva is scientifically “proven” and “shown” to provide its advertised

   benefits. See generally Declaration (ECF No. 62-1) and Supplemental Declaration (ECF No.

   86-1) of Dr. Gary W. Small. Also, even in the brief intervening period of the Amended

   Settlement’s pendency, other courts have acknowledged that complaints challenging

   “clinically proven” language on the labels of dietary supplements are subject to a complete

   bar under the “prior substantiation” doctrine and must be dismissed. See Yamasaki v. Zicam

   LLC, 2021 4951435, at *5 (N.D. Cal. Oct. 25, 2021) (“The Court is not persuaded by Plaintiff’s

   conclusory allegations that the words ‘clinically proven’ imply to reasonable consumers that

   there is a scientific consensus about the efficacy of Defendant’s products or that the studies

   on which Defendant relies have been published and peer-reviewed.”). Indeed, Yamasaki was

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   brought by the same Plaintiffs’ counsel as the instant action and the complaint in that matter

   contained highly similar allegations of fact. Compare Yamasaki v. Zicam LLC, No. 21-cv-2596,

   Am. Compl. (Dkt No. 30) ¶ 32 with Am. Compl. (Dkt. No. 36) ¶¶ 66.

          Thus, the value of the injunctive relief here must be considered through the lens of the

   “range of possible relief” that Plaintiffs might have received informed by the “likelihood of

   success” in proceeding. Wilson, 2016 WL 457011, at *6 n.11 (citing Leverso v. S. Trust Bank of

   Ala. N.A., 18 F.3d 1527, 1530 n.6 (11th Cir. 1994)). That the near-term outcome in this case

   might very well have been a Rule 12 prior substantiation dismissal where Plaintiffs and the

   class received $0 and Neuriva’s labels went unchanged, further proves the injunctive relief’s

   considerable value. Ferron, 2021 WL 2940240, at *11 (“An example of the risk of continued

   litigation is evidenced by the recent dismissal without prejudice of a factually similar case.”);

   see also RB Mot. to Dismiss (Dkt No. 39) at 8–11 (RB’s Motion to Dismiss asserting prior

   substantiation bar as basis dismissal of Complaint in full). The injunctive relief agreed to here

   has substantial value and should be fully and appropriately credited when considering

   whether to approve the Amended Settlement.

   II.    Expert Testimony Confirms That the Amended Settlement’s Injunctive Relief
          Has Value.
          To directly address this Court’s November 16 Order, RB has marshalled additional

   expert proof that the Amended Settlement results in a materially changed label that further

   proves the “benefits of the revised injunctive restrictions.” Dkt. No. 131.

          The Supplemental Declaration of Dr. Punam Keller, an expert in the field of health-

   related marketing, establishes two key points. First, the Amended Settlement’s prohibition on

   use of the word “shown” strengthens the already significant injunctive relief insofar as

   “shown” has an arguably closer meaning to the term “proven,” such that the further

   restriction on “shown” means “clinically tested” does not suggest an outcome-based result.

   Suppl. Keller Decl. ¶¶ 11–12. Second, consumers reviewing the labels mandated by the

   Amended Settlement are likely to accurately interpret the “Clinically Tested” language to


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   mean that the products’ ingredients have been subject to testing, which is indisputably true.

   Id. ¶ 13. This second round of expert testimony going to the value of the Amended

   Settlement’s injunctive relief, secured only through the settlement of this lawsuit, provides an

   additional basis to support Final Approval. See In re: Vizio, Inc., Consumer Privacy Litig., 2019

   WL 12966638, at *6 (N.D. Cal. Jul. 31, 2019) (“Plaintiffs submit persuasive expert testimony

   demonstrating that the injunctive relief secured by the Settlement Agreement has substantial

   value and benefit to Class Members, even when limiting such evaluation to relief directly

   traceable to this action.”).

          In her initial Declaration (Dkt. No. 98-4), Dr. Keller established her expertise and

   experience in the area of health-related marketing and the significant concession RB made in

   agreeing to “clinically tested” or similar language, such as clinical studies have “shown.”

   Keller Decl. ¶¶ 3–6, 9. That declaration further established that consumers would perceive a

   meaningful difference between the claims “Clinically Tested” and “Clinically Proven,” with

   the “tested” claim connoting a process versus the “proven” claim connoting a result. Id. ¶¶ 23,

   26–27. These conclusions were based on Dr. Keller’s review of the record, the specific

   demographics of Neuriva buyers, RB’s own marketing research, and related academic

   research in the relevant field. Id. ¶ 8.

          Dr. Keller concluded that the original injunctive relief represented a significant

   concession by RB and a value to consumers. See id. ¶¶ 9, 37, 40, 45. She has now reviewed

   the Amended Settlement and the revised Neuriva labels and concluded that RB has further

   strengthened the significant relief afforded in the first settlement. See generally Suppl. Keller

   Decl. As before, Dr. Keller’s testimony establishes that consumers’ perception largely turns

   on three factors: (1) the words and phrases used in the Message (e.g., clinically tested vs.

   clinically shown), (2) the Individual Consumer (e.g., age; income; education), and (3) Context

   (e.g., prevention vs. promotion health products). Id. ¶ 5. These same three factors once again

   establish that consumers will perceive a meaningful difference between a “clinically shown”

   versus a “clinically tested” claim. Id. ¶¶ 7–12.

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          First, the value of the Amended Settlement’s restriction on “shown” is demonstrated

   by the literal differences between the word “shown” and “proven.” Just as “tested” and

   “proven” had distinct dictionary definitions, “show” is distinguishable. The Collins

   dictionary highlights the word “test” as generally used to describe a process whereas “proof”

   or “prove” is used to describe the quality of an outcome. Id. ¶ 7; compare Collins Dictionary

   (“prove . . . show by means of argument or evidence that it is definitely true”) (available at:

   https://www.collinsdictionary.com/us/dictionary/english/prove) with Collins Dictionary

   (“test. n. a test is a deliberate action or experiment to find out how well something works”)

   (available at: https://www.collinsdictionary.com/us/dictionary/english/test). Similarly,
   according to the Collins dictionary, when you show something, you give information that

   reveals it, demonstrates it, or makes it clear. Supp. Keller Decl. ¶¶ 7–8; see Collins Dictionary

   (“show . . . to make evident by logical procedure; explain or prove . . . to make clear by going

   through           a           procedure;           demonstrate”)          (available          at:

   https://www.collinsdictionary.com/us/dictionary/english/show).

          Thus, the standard English definitions of the terms “show” and “proof” highlight that

   the word “shown” has a less definitive meaning than “proven.” Suppl. Keller Decl. ¶ 8. While

   “proven” relates to demonstrating an outcome or result that is reliably true or correct,

   “shown” often relates to presenting evidence that may not be proven to be true or correct. See

   id. And that Neuriva is typically purchased by older, more educated, and more affluent

   consumers and carries enhancement-based marketing messages, further increase the

   likelihood that these differences will be perceived. Id. ¶¶ 9–10. In short, RB is strengthening

   its already significant injunctive relief. Id. ¶¶ 11–12.

          Second, because the Amended Settlement now prohibits the use of both “shown” and

   “proven” on Neuriva labels, consumers are all the more likely to interpret the term “Clinically

   Tested” according to its literal meaning. Id. ¶ 13. As Dr. Keller observes, the contemplated

   revised labels now consistently use the term “Clinically Tested” in reference to the science

   behind Neuriva’s ingredients. Id. Academic research shows that the repeated and consistent

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    use of a particular marketing message tends to result in a correspondingly consistent

    interpretation of those messages. Id. Thus, the fact that the word “shown” cannot be used,

    means that consumers are likely to draw from the products’ labeling the indisputably true

    message that Neuriva products’ ingredients have, in fact, been tested. Id. (“[T]he revised

    labeling and its consistent use of the term ‘Clinically Tested’ in reference to Neuriva’s

    ingredients makes it more likely that consumers will interpret this term in conformance with

    its literal meaning and as stated on the products’ labeling . . . . Thus, the Amended Settlement

    Agreement’s restriction on the permitted simultaneous use of the terms ‘tested’ and ‘shown’

    on the same label lend a degree of precision and clarity for consumers’ perception of the

    Neuriva products’ labels beyond the relief in the prior iteration of the Settlement

    Agreement.”). So, the Amended Settlement strengthens the injunctive relief along this

    dimension as well.

                                       III.   CONCLUSION

           For the foregoing reasons, along with those stated in its prior submissions, Defendants

    respectfully request that the Court recommend Final Approval of the Amended Settlement.


    Dated: December 2, 2021                                    Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on December 2, 2021, I electronically filed the foregoing
    document with the Clerk of the Court using CM/ECF.


                                                   /s/ Lori P. Lustrin
                                                   Lori P. Lustrin




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